                      CASE 0:19-cr-00305-NEB-BRT Doc. 144 Filed 02/08/22 Page 1 of 5
AO 245B (Rev. 11/16) Sheet 1 - Judgment in a Criminal Case




                                         UNITED STATES DISTRICT COURT
                                                             District of Minnesota

 UNITED STATES OF AMERICA                                                          JUDGMENT IN A CRIMINAL CASE

 v.
                                                                                   Case Number: 19-CR-305-NEB-BRT (1)
 NEERAJ CHOPRA                                                                     USM Number: 22289-041
                                                                                   Robert Amsel
                                                                                   Defendant’s Attorney

THE DEFENDANT:
 ☒ pleaded guilty to count 1 of the Indictment
 ☐ pleaded nolo contendere to count(s) which was accepted by the court
 ☐ was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                      Offense Ended     Count
 18:2244(b) and 49:46501(2)(A) and 46506(1) ABUSIVE SEXUAL CONTACT                                        04/08/2019        1




The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☐ Count(s) ☐ is ☐ are dismissed on the motion of the United States.
 ☒ $100.00 Special Assessment is due and payable immediately.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                     January 27, 2022
                                                                     Date of Imposition of Judgment




                                                                     s/Nancy E. Brasel
                                                                     Signature of Judge

                                                                     NANCY E. BRASEL
                                                                     UNITED STATES DISTRICT JUDGE
                                                                     Name and Title of Judge

                                                                     February 8, 2022
                                                                     Date




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AO 245B (Rev. 11/16) Sheet 2 - Imprisonment
DEFENDANT:                    NEERAJ CHOPRA
CASE NUMBER:                  19-CR-305-NEB-BRT (1)

                                                           IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
15 months as to count 1 of the Indictment

 ☒ The court makes the following recommendations to the Bureau of Prisons: The Defendant be placed in a facility in the state of
        Minnesota.




 ☒ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

           ☐ at                                          on

           ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           ☐ before                         on
           ☐ as notified by the United States Marshal.
           ☐ as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:


          Defendant delivered on                                        to


at                                            , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL

                                                                                                      By
                                                                                          DEPUTY UNITED STATES MARSHAL




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AO 245B (Rev. 11/16) Sheet 3 – Supervised Release
DEFENDANT:                    NEERAJ CHOPRA
CASE NUMBER:                  19-CR-305-NEB-BRT (1)

                                                     SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: five (5) years.



                                                    MANDATORY CONDITIONS

   1.   You must not commit another federal, state or local crime.
   2.   You must not unlawfully possess a controlled substance.
   3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
        release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              ☒ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of
                    future substance abuse. (check if applicable)
   4.   ☐     You  must  make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a
              sentence of restitution. (check if applicable)
   5.   ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
   6.   ☒ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
              seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
              you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
   7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any
 additional conditions on the attached page.




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AO 245B (Rev. 11/16) Sheet 3A – Supervised Release
DEFENDANT:                    NEERAJ CHOPRA
CASE NUMBER:                  19-CR-305-NEB-BRT (1)

                                  STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
      officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
      from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
      excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
      10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
      the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
      without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at www.uscourts.gov.

Defendant's Signature __________________________________________________                       Date ______________________

Probation Officer's Signature ____________________________________________                     Date ______________________




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AO 245B (Rev. 11/16) Sheet 3D – Supervised Release
DEFENDANT:                    NEERAJ CHOPRA
CASE NUMBER:                  19-CR-305-NEB-BRT (1)

                                     SPECIAL CONDITIONS OF SUPERVISION

     a.   The defendant shall submit his person, residence, office, vehicle, or an area under the defendant's control to a search
          conducted by a United States Probation Officer or supervised designee, at a reasonable time and in a reasonable manner,
          based upon reasonable suspicion of contraband or evidence of a supervision violation. The defendant shall warn any other
          residents or third parties that the premises and areas under the defendant's control may be subject to searches pursuant to this
          condition.

     b.   The defendant shall not associate with persons under the age of 18 except in the presence of a responsible adult who is aware
          of the nature of the defendant's background and current offense and who has been approved by the probation officer.

     c.   The defendant shall participate in sex offender and/or mental health treatment as approved by the probation officer and shall
          submit to risk assessment which may include but is not limited to physiological testing and polygraph/truth verification
          testing. Polygraph testing may be used following completion of primary treatment as directed by the probation officer to
          monitor adherence to the goals and objectives of treatment. Sex offender assessments and treatment are to be conducted by a
          therapist approved in advance by the probation office. Further, the defendant shall contribute to the costs of such treatment as
          determined by the Probation Office Co-Payment Program not to exceed the total cost of treatment.

     d.   The defendant shall comply with all immigration rules and regulations and, if deported from this country either voluntarily or
          involuntarily, not reenter the United States illegally. Upon any reentry to the United States during the period of court-ordered
          supervision, the defendant shall report to the nearest U.S. Probation and Pretrial Services Office within 72 hours.




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